

People v Vizcarrando (2024 NY Slip Op 02153)





People v Vizcarrando


2024 NY Slip Op 02153


Decided on April 23, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 23, 2024

Before: Oing, J.P., Moulton, Mendez, Shulman, Pitt-Burke, JJ. 


Ind. No. 4015/11 Appeal No. 2103 Case No. 2015-2480 

[*1]The People of the State of New York, Respondent, 
vStephen Vizcarrando, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (David Billingsley of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Elizabeth Schmidt of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, New York County (Ronald A. Zweibel, J.), rendered June 19, 2014,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 23, 2024
Counsel for appellant is referred to
§ 606.5, Rules of the Appellate Division,
First Department.








